                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

In re:                                      )
                                            )
KRISTINA LYNN HALL,                         )       Case No. 19-01257
                                            )
                              Debtor.       )      Judge Marian Harrison

                 NOTICE OF WITHDRAWAL OF MOTION TO DISMISS

         The U.S. Trustee, Region 8, hereby withdraws his Motion to Dismiss Case for Abuse

(Docket Entry No. 18).




                                                       Respectfully,


                                                       PAUL RANDOLPH,
                                                       ACTING U.S. TRUSTEE, REGION 8


                                                       /s/ Megan Seliber
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Case 3:19-bk-01257       Doc 22   Filed 07/26/19 Entered 07/26/19 07:42:03          Desc Main
                                  Document     Page 1 of 1
